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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
                              Holding a Criminal Term

                     Grand Jury Sworn in on February l4, 2022

UNITED STATES OF AMERICA                 :    CRIMINAL NO. 21-cr-22

          v.                             :    VIOLATIONS:
                                         :    18 U.S.C. § 23l(a)(3)
CHRISTOPHER RAY GRIDER,                  :    (Civil Disorder)
                                         :    l8 U.S.C. §§ 1512(c)(2), 2
                Defendant.               :    (Obstruction of an Ofcial    Proceeding)
                                              18 U.S.C. § 1361
                                              (Destruction of Government Property)
                                              l8 U.S.C. § 1752(a)(1)
                                              (Entering and Remaining in a Restricted
                                              Building or Grounds)
                                              18 U.S.C. § 1752(a)(2)
                                              (Disorderly and Disruptive Conduct in a
                                              Restricted Building or Grounds)
                                              l8 U.S.C. § 1752(a)(4)
                                              (Engaging in Physical Violence in a
                                              Restricted Building or Grounds)
                                              40 U.S.C. § 5104(e)(2)(D)
                                              (Disorderly Conduct in
                                              a Capitol Building)
                                              40 U.S.C. § 5104(e)(2)(F)
                                              (Act of Physical Violence in the Capitol
                                              Grounds or Buildings)
                                              40 U.S.C. § 5104(e)(2)(G)
                                              (Parading, Demonstrating, or Picketing in
                                              a Capitol Building)




                                    w
                                   INDICTMENT
    The Grand Jury charges that:
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        On or about January 6, 2021, within the District of Columbia,        CHRISTOPHER RAY

GRIDER, committed and attempted to commit an act to obstruct, impede, and interfere with a law

enforcement ofcer,    lawfully engaged in the lawil      performance of his ofcial   duties incident to

and during the commission       of a civil disorder which in any way   and degree obstructed, delayed,

and adversely affected commerce and the movement          of any article and commodity in commerce

and the conduct and performance       of any federally protected function.

        (Civil Disorder,   in violation of Title 18, United States Code, Section 23 1(a)(3))


                                             COUNT TWO

        On or about January 6, 2021, within the District of Columbia and elsewhere,

CHRISTOPHER RAY GRIDER,                   attempted to, and did, corruptly obstruct, inuence,      and

impede an ofcial     proceeding, that is, a proceeding before Congress, speciCally,        Congress’s

certication   of the Electoral College vote as set out in the Twelh    Amendment ofthe Constitution

ofthe United States and    3   U.S.C. §§ 15-18.

        (Obstruction of an Ofcial        Proceeding and Aiding and Abetting, in violation of Title
        18, United States Code, Sections 1512(c)(2) and 2)



                                           COUNT THREE

        On or about January 6, 2021, within the District of Columbia,        CHRISTOPHER RAY

GRIDER, did willfully injure and commit depredation against property of the United States, and
of any department and agency thereof, and any property which has been and is being manufactured

and constructed for the United States, and any department or agency thereof, that is the doors to

the Speaker’s Lobby outside      of the House Chamber of the U.S. Capitol building, causing damage

in an amount more than $1000.

        (Destruction of Government Property, in violation of Title 18, United States Code,
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         Section 1361)

                                          .COUNT—F0.UR

         On or about January 6, 2021, within the District of Columbia,      CHRISTOPHER RAY

GRIDER, did knowingly enter and remain in a restricted building and grounds, that is, any posted,
cordoned-o‘,    and otherwise restricted area within the United States Capitol and its grounds, where

the   Vice President was and would be temporarily visiting, without lawful authority to do   so.




                                           w
         (Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
         United States Code, Section 1752(a)(1))




         On or about January 6, 2021, within the District of Columbia,      CHRISTOPHER RAY

GRIDER,        did knowingly, and with intent to impede and disrupt the orderly conduct of

Government business and ofcial       functions, engage in disorderly and disruptive conduct in and

within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and

otherwise restricted area within the United States Capitol and its grounds, where the Vice President

was and would be temporarily visiting, when and so that such conduct did in fact impede and

disrupt the orderly conduct of Government business and official functions.




                                            w
         (Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
         of Title 18, United States Code, Section 1752(a)(2))



         On or about January 6, 2021, within the District of Columbia,      CHRISTOPHER RAY

GRIDER, did knowingly engage in any act of physical violence against any person and property

in a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area

within the United States Capitol and its grounds, where the Vice President was and would be

temporarily visiting.

         (Engaging in Physical Violence in a Restricted Building or Grounds, in violation of

                                                   3
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       Title 18, United States Code, Section 1752(a)(4))

                                         COUNT SEVEN

       On or about January 6, 2021, within the District of Columbia,        CHRISTOPHER RAY

GRIDER, willfully and knowingly engaged in disorderly and disruptive conduct within the United

States Capitol Grounds and in any   of the Capitol Buildings with the intent to impede, disrupt, and

disturb the orderly conduct of a session of Congress and either House of Congress, and the orderly

conduct in that building of a hearing before or any deliberation of, a committee of Congress or




                                         w
either House of Congress.

       (Disorderly Conduct in a Capitol Building, in Violation of Title 40, United States Code,
       Section 5104(e)(2)(D))




       On or about January 6, 2021, within the District of Columbia,        CHRISTOPHER RAY

GRIDER, willfully and knowingly engaged in an act ofphysical violence within the United States
Capitol Grounds and any of the Capitol Buildings.

       (Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
       United States Code, Section 5104(e)(2)(F))                       \
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                                       COUNT NINE

       On or about January 6, 2021, within the District of Columbia,   CHRISTOPHER RAY

GRIDER, willfully    and knowingly paraded, demonstrated, and picketed in any United States

Capitol Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))




                                           A TRUE BILL:                       '
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                                           FOREPERSON.

 Mk) @Wzua’
Attorney of the United States in
and for the District of Columbia.
